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               14
                                                     UNITED STATES DISTRICT COURT
               15
                                                    NORTHERN DISTRICT OF CALIFORNIA
               16
                     COLLEGE OF THE LAW, SAN FRANCISCO, a                    Case No. 4:20-cv-3033-JST
               17    public trust and institution of higher education duly
               18    organized under the laws and the Constitution of the    DECLARATION OF
                     State of California; FALLON VICTORIA, an                JENNIFER FRIEDENBACH
               19    individual; RENE DENIS, an individual;                  IN SUPPORT OF
                     TENDERLOIN MERCHANTS AND PROPERTY                       INTERVENORS' RESPONSE
               20    ASSOCIATION, a business association; RANDY              TO PLAINTIFFS' MOTION
                     HUGHES, an individual; and KRISTEN                      TO ENFORCE STIPULATED
               21    VILLALOBOS, an individual,                              INJUNCTION

                                      Plaintiffs,                            ASSIGNED FOR ALL
               22                                                            PURPOSES TO THE
                                      V.                                     HONORABLE JONS. TIGAR,
               23                                                            COURTROOM6
               24    CITY AND COUNTY OF SAN FRANCISCO, a
                     municipal entity,                                       Date: 05/23/2024
               25                                                            Time: 2:00 p.m.
                                      Defendant.
               26                                                            Action Filed: 05/04/2020
                                                                             TRIAL DATE: (TBD)
               27

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                     Case No. 4:20-cv-3033-JST
                     DECL OF J. FRIEDENBACH ISO INTVS' RESP TO PLTFS' MTN TO ENFORCE STIP INJUNCTION     1
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                     Case No. 4:20-cv-3033-JST
                     DECL OF J. FRIEDENBACH ISO INTVS' RESP TO PLTFS' MTN TO ENFORCE STIP INJUNCTION 2
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                 1   I, Jennifer Friedenbach, declare:

                2             1.      I am the Executive Director of the Coalition on Homelessness ("COH"). COH is

                3    an Intervenor in UC SF Law, et al. v. City and County ofSan Francisco: Case No.: 4:20-cv-

                4    03033-JST. I make this Declaration in opposition to Plaintiffs' Motion to Enforce the Stipulated

                 5   Injunction.

                6             2.      The facts set forth below are known to me personally, and I have first-hand

                7    knowledge of these facts. If called as a witness, I could and would testify competently, under

                 8   oath, to such facts.

                9             3.      Coalition on Homelessness has developed the leadership skills of unhoused San

               10    Franciscans to come up with genuine solutions to the housing crisis and to defend themselves

               11    against attacks on their civil rights. Our mission is to organize homeless people and front-line

               12    service providers to create permanent solutions to homelessness, while working to protect the

               13    human rights of those forced to remain on the streets.

               14             4.      We conduct daily outreach and weekly workgroup meetings to ensure our work is

               15    driven by the input and expertise of unhoused San Franciscans themselves. Through this, we lead

               16    campaigns for permanent solutions to homelessness which increase the amount of housing,

               17    services, and treatment programs available to homeless people, improve systems to access those

               18    programs, and ultimately get us closer to ending homelessness.

               19             5.      Currently, we are fighting to increase shower and water access for unhoused San

               20    Franciscans, who currently have little to no access to running water. Additionally, we are

               21    actively engaged with seniors and families living in their vehicles to secure housing placements

               22    and safe parking sites, enabling them to stabilize their living situation and transition from the

               23    streets. We are also fighting to expand access to housing, shelter, treatment and prevention for

               24    adults, families and youth, and to stave off proposed cuts to these programs.

               25             6.      Our work also coincides with ongoing efforts to reform San Francisco's

               26    Coordinated Entry System, which determines the allocation of the City's homelessness resources.

               27    These reforms are geared towards fostering a more accessible, equitable and responsive system

               28    that addresses the diverse needs and circumstances of San Francisco's unhoused community.

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                 1   Additionally, we continue to defend the civil rights of unhoused people against criminalization

                2    and property confiscation.

                3             7.      The most recent Motion initiated by the University of California College of Law,

                4    San Francisco poses a significant threat to the unhoused community, and will again cause harm

                 5   and trauma, if granted, by displacing unhoused residents with no other place to reside, lead to

                6    property seizure and destruction, and continue the cycle of arrest and poverty. While the City has

                7    previously committed to implementing strategies that take into account stakeholders' input and

                 8   are evidence-based, the demands outlined in the Motion would circumvent those strategies and

                9    will not help the City reach its goals of addressing the homelessness crisis.

               10             8.      The City cannot allow a narrow demand to displace unhoused individuals to take

               11    the place oflong-term strategies and approaches that will allow the City to address

               12    homelessness. Enforcement actions against unhoused individuals are a near daily occurrence in

               13    the City and the Tenderloin district. We strongly emphasize that enforcement actions should not

               14    be taken unless housing with services model is prioritized and offered.

               15             9.      Originally the lawsuit alleged that the City should follow their own policies,

               16    which includes a services model, and the City should offer shelter before enforcement. However,

               17    there is still a vigorous campaign to banish people with nowhere to go that does not align with

               18    the policies set by the City to address homelessness.

               19             10.         The Coalition on Homelessness is based in the Tenderloin district as is the

               20    University, and so are the many unhoused people who reside there. The University is asking the

               21    City to kick out people who are from the community.

               22             11.     It is my understanding that the court closed the case in 2020. However, after the

               23    case was closed, the City has continued to schedule and conduct enforcement activities in the

               24    Tenderloin as recent as this month. I receive regular reports of encampment cleanups. The City

               25    has undertaken numerous encampment sweeps, particularly around the Dreamforce Conference

               26    area. The City conducts encampment resolutions in the Tenderloin daily, seven days per week

               27    starting at 9:00 a.m., entitled the Joint Force Operation (JFO). They cover four different

               28    quadrants on a rotating basis. On Monday April 8, they started with quadrant 1 which is

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                 1   Larkin/Willow Street. The next day on April 9, they did Zone 2 which is Leavenworth and Eddy.

                2    That was followed by Quadrant 3 on the April 10, Taylor and Ellis. On the 11th, they did the last

                3    zone, 6th and Stevenson, and then started again with Quadrant 1 on the 12th and repeated the

                4    cycle. The data I have received most recently states that there are two encampment resolutions

                 5   each day City-wide on April 16, 17, and two more scheduled for April 18.

                6             12.     During the COVID-19 pandemic, it is my understanding that the City received

                7    funding from the federal government to house people in Shelter in Place hotels and other safe

                 8   sleeping sites. Our organization, in collaboration with other organizations, ensured that when the

                9    City addressed unhoused Tenderloin residents at the encampments, the unhoused residents were

               10    offered and moved into Shelter in Place hotels with the appropriate services and reasonable

               11    accommodations.

               12             13.     Based on our experience, the Shelter in Place hotels led to a reduction in

               13    encampment numbers, and we were able to work with service providers to transition people into

               14    more trauma-informed, accessible accommodations. The success of the Shelter in Place hotels

               15    really illustrated how accessible shelters, combined with coordinated services, can facilitate a

               16    pathway out of homelessness and into permanent housing. The City continues to have similar

               17    resources and programs that are similar to the Shelter in Place hotel model that can provide

               18    solutions to homelessness. It is important to continue the work of addressing homelessness with

               19    models and programs that have proven effective.

               20             14.     We also know that there are still many people experiencing homelessness in San

               21    Francisco. According to the last San Francisco Point in Time Count, there were 7,754 people

               22    experiencing homelessness and San Francisco currently has just under 3,500 shelter beds. There

               23    are 160 people on the waitlist for shelter as of April 15, 2024 and there are more unhoused

               24    people than available shelter beds, especially following sweeps. Homelessness sweeps

               25    exacerbate issues of homelessness by leading to lost paperwork, interrupted or lost contact with

               26    service providers and outreach workers, heightened health risks and increased morbidity.

               27             15.     To address the crisis, our organization emphasizes the need to prioritize several

               28    key actions: increase housing access like rental assistance; create cost effective ways to prevent

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                 1   homelessness; fill vacancies; build new construction and acquire housing stock; and leverage

                2    federal and local programs to expand the private rental market.

                3             16.     In the meantime, we need to increase the shelter capacity and the ability to move

                4    people into more permanent housing faster while preventing individuals from becoming

                 5   homeless. Homelessness is caused by deep structural inequities and attempting to removing

                6    people from site by citing arresting and destroying their property is not only cruel but wastes

                7    resources on the above-mentioned solutions.

                 8            17.     Decades of criminalization, removing tents, confiscating property has

                9    demonstrated it does not solve homelessness, it simply makes it more difficult for unhoused

               10    people to survive. It also focuses on a structure as opposed to meeting the material needs of those

               11    living on the streets inside and outside of tents.

               12             18.     Coalition on Homelessness has also worked with the City and other stakeholders

               13    on the transformation of the Coordinated Entry System to prioritize expanding access points to

               14    comprehensively assess individuals, including ones with disabilities, within a unified system, and

               15    ensuring well trained and quality case management that results in housing placement.

               16             19.     Long term solutions also need to include adding a Special Family Count to the

               17    Point in Time Count, transform Coordinated Entry, implement the San Francisco Homeless

               18    family definition and craft a family homelessness strategic plan. The San Fransisco Homeless

               19    Family Definition should ensure all families who are homeless as defined by the official city

               20    definition passed in 2001 are eligible for housing and shelter and that specific needs of various

               21    homeless family populations are addressed. The City should also use the Family in Point Time

               22    Count results to design, resource, and execute outcomes to measure success in reducing family

               23    homelessness.

               24             20.     For the City to effectively tackle homelessness, it must adhere to its strategic plan

               25    in the Home by the Bay report. Strategic and effective policies must go beyond strict

               26    enforcement of a zero-tent policy like in this Injunction. To address poverty and homelessness,

               27    we need a multiprong approach.

               28             21.     The University's Motion to Enforce the Injunction should be denied because it

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                 1   exacerbates homelessness, engages in a failed strategy, and does not include a multiprong

                2    approach to addressing homelessness in the Tenderloin district or San Francisco as a whole.

                 3

                4             I declare under penalty of perjury under the laws of the United States of America that the

                 5   foregoing is true and correct to the best of my knowledge. Executed on April 17, 2024 San

                 6   Francisco, California.

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                                                                   Jennifer Friedenbach
                 9                                                 Executive Director, Coalition on Homelessness

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